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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK


WAYNE BALIGA, derivatively on behalf of
LINK MOTION INC. (F/K/A NQ MOBILE INC.)            1:18-cv-11642-VM-DCF

                         Plaintiff,
           -against-

LINK MOTION INC. (F/K/A NQ MOBILE INC.),
VINCENT WENYONG SHI, JIA LIAN, XIAO YU,

                         Defendants,
           -and-

LINK MOTION INC. (F/K/A NQ MOBILE INC.),

                         Nominal Defendant.



           PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION
         TO CHINA AI CAPITAL LIMITED’S MOTION TO INTERVENE
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        Plaintiff Wayne Baliga (“Plaintiff”), by his undersigned counsel, submits this

memorandum of law in opposition to the motion to intervene submitted by China AI Capital

Limited (“China AI”) and its supporting memorandum of law (ECF 127, 129) (collectively as to

China AI’s motion and memorandum of law, the “Motion”).1

                                    PRELIMINARY STATEMENT

        This case arises out of a fraud perpetrated by Defendant Shi and his associates against LKM

and its shareholders by, inter alia, stripping the Company of its value through unlawful transfers

of LKM’s assets to unknown third parties. As a result of the alleged fraud, Defendant Shi and his

associates have extracted nearly all of the value of the Company, harming LKM shareholders in

the process, and have caused the Company to get delisted from the NYSE. By China AI’s present

Motion, Defendant Shi and his associates are, in all likelihood, once again committing fraud. This

time, however, it appears that Defendant Shi’s fraud is on LKM shareholders and the Court.

        That Defendant Shi and China AI are colluding to perpetuate a fraud has been demonstrated

by facts set forth in the Receiver’s May 2, 2020 letter to the Court (the “Receiver’s Letter”).

Indeed, the Receiver’s Letter sets forth disturbing facts that support the notion that China AI and

Shi are, if not one in the same, then closely related.

        And yet, ironically, by its present Motion, China AI seeks to intervene as a plaintiff here.

Indeed, China AI maintains that it is Plaintiff who cannot adequately represent the interests of

LKM and its shareholders. Not so. China AI has failed to meet its burden for demonstrating why

intervention should be ordered here. Its arguments are unavailing.




1
  All capitalized terms not otherwise defined herein have the same meaning ascribed to them in the First Amended
Complaint (“FAC”). ECF 68. “¶__” are references to the paragraphs of the FAC. Citations to “China AI. Br. __” are
to China AI’s Memorandum of Law In Support Of Motion To Intervene. ECF 129. “Ex. __” are references to exhibits
attached to the Declaration of Jake Nachmani, filed contemporaneously with this brief. Unless otherwise noted, all
emphasis is added and all internal quotations and citations are omitted.

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       First, if China AI is either an alter ego or an affiliate of Shi’s, it can have no legitimate

interest as an intervenor. Indeed, China AI’s interest may very well be that of Shi’s – diametrically

opposed to that of the Company’s, LKM shareholders’, and Plaintiff Baliga’s. That significant

questions can be raised about China AI’s identity, its relationship to Shi, and its real interests in

this action demands that China AI’s Motion be denied.

       Second, China AI’s Motion is untimely, coming fifteen months after China AI had notice

of this action – and even more delayed, given China AI’s constructive notice.

       Third, and contrary to China AI’s contentions, Plaintiff has standing here. The FAC alleges

both direct and derivative claims; Plaintiff has standing to bring all of these claims, and China AI

fails to challenge Plaintiff’s right to sue LKM directly. Moreover, the Cayman Island law requiring

a plaintiff to convert American Depository Shares (“ADS”) to common shares is a procedural rule,

which, accordingly, New York courts are under no obligation to follow – further establishing

Plaintiff’s standing. Additionally, recent caselaw analyzing Cayman Island law and English

common law recognizes the inequity and dangerous results of holding otherwise.

       Accordingly, and for all the reasons set forth herein, China AI’s Motion should be denied.

          SUMMARY OF RELEVANT FACTS AND PROCEDURAL HISTORY

       Plaintiff commenced this action in December 2018, alleging that Defendant Shi and other

LKM directors committed fraud and various breaches of fiduciary duties, including directing

fraudulent transfers of LKM assets to third parties for no consideration and with no Board or

shareholder approval. ECF 1 at ¶¶17-21, 26-31. A Receiver has been appointed by the Court.

ECF 26. Defendant Shi filed a motion to dismiss (ECF 35), and that motion has been decided.

ECF 64. Plaintiff then filed the FAC. ECF 68. Since the filing of the FAC, Defendant Shi has

actively avoided being served under Hague Convention procedures, and, as a result, in October



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2019, Plaintiff requested that the Court grant Plaintiff’s application to allow for alternative service

on Shi. ECF 87, 104. Shi opposed Plaintiff’s motion for alternative service. ECF 110.2 Merely

two days after Shi’s opposition, and approaching a year after the commencement of this action,

China AI appeared in this matter and notified the Court of its intention to intervene. ECF 111. Shi

did not oppose that. ECF 114. Nearly five months later and 15 months after the commencement

of this action, China AI moved to intervene. ECF 127.

        Between China AI’s first notifying the Court of its intention to intervene on November 1,

2019 and the date of this filing, the Receiver revealed critical and disturbing facts concerning

China AI and its relationship to Defendant Shi. For example, on November 15, 2019 (endorsed

by the Court on November 22, 2019), the Receiver notified the Court of significant issues raised

by China AI’s intervention. ECF 115. Notwithstanding that the identity of the entity seeking to

intervene was initially set forth as “AI Capital China,” by its November 15 letter, the Receiver

informed the Court that it would be investigating China AI, as the Receiver suspected that China

AI was an entity closely related to Defendant Shi and that a July 2018 transaction involving the

issuance of LKM shares to China AI had a fraudulent purpose. ECF 115. The Receiver informed

the Court that it would continue to investigate these matters. ECF 115.

        The Receiver continued its investigation, and, on May 2, 2020, by the Receiver’s Letter,

the Receiver provided the Court with newly uncovered information that directly concerns this

Motion and the Court’s administration of justice. Ex. 1. The Receiver’s Letter and its supporting

documentation shed light on the undisclosed close relationship between China AI and Defendant

Shi and the fraud which China AI and Defendant Shi are potentially attempting on this Court by

China AI’s Motion.


2
 The Court has ordered Shi to consent to the Court’s jurisdiction, such that he waives service of process, or
demonstrate by a “persuasive showing” why he should be able to proceed as an amicus curiae. ECF 140.

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        Pursuant to a transaction announced by LKM on July 19, 2018, China AI agreed to pay

LKM $20 million to acquire over 70,000,000 Class B shares of LKM (the “Class B Shares

Transaction”). Ex. 1 at 2-3. Evidence demonstrates that this transaction was effectuated and that

China AI came into possession of these shares. In fact, based on LKM’s shareholder registry dated

May 4, 2020 (the “Shareholder Registry”), China AI still retains its 70,175,439 Class B shares.

Ex. 2 at 7.

        The Class B Shares Transaction strongly suggests that China AI is either an alter ego or an

affiliate of Shi’s. Notably, nearly two years after the Class B Shares Transaction, China AI has

paid at most only half of what it owes to LKM for these shares. Ex. 1 at 3; Ex. 2 at 7. Importantly,

Class B shares confer significant voting power; each Class B share holds ten times the voting

power of a Class A common share of LKM. Ex. 1 at 2. As a result of the Class B Shares

Transaction, China AI was able to place its two principals, Yu “Bruson” Li (“Li”) and “Larry” Chi

(“Chi”), on LKM’s board of directors (the “Board”), gaining significant control of the Board as a

result. Ex. 1 at 2. Prior to the Class B Shares Transaction, Li and Chi were both close associates

of Defendant Shi. Additionally, LKM hid the Class B Shares Transaction from its counsel at the

time, Skadden, Arps, Slate, Meagher & Flom LLP (“Skadden Arps”), and, when Skadden Arps

learned of the Class B Shares Transaction, the firm expressed that the Class B Shares Transaction

had no legitimate purpose. Ex 1. at 3.

        Additional evidence uncovered by the Receiver strongly suggests an alter ego/affiliate

relationship between Shi and China AI. This evidence includes, but is not limited to that:

        •     Li, who held 50% of the shares of China AI at the time of the Class B Shares
              Transaction and subsequently became its sole shareholder, was Vice Chairman
              of LKM from 2010 to 2015. Ex. 1 at 2.

        •     Pursuant to the Class B Shares Transaction, Li and Chi, through China AI,
              became the owners of $20 million of Class B LKM shares, and, in connection

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            with the significant voting power conferred to Class B shares, each became
            members of LKM’s Board. Ex. 1 at 2, 3. Li remains an LKM Board member.

        •   Prior to the Class B Shares Transaction, Shi had invested in HH-Medic, Inc.
            (“HH Medic”), a Cayman Island company operating in Beijing and founded by
            Li, using LKM funds. LKM currently owns over 11 percent of HH-Medic’s
            shares. Ex. 1 at 2, 3.

        •   A portion of the funds paid to LKM in connection with the Class B Shares
            transaction was paid for by HH Medic. Ex. 1 at 3.

        •   LKM had no legitimate need for the $20 million investment at the time of the
            Class B Shares Transaction. Ex. 1 at 2, 3.

        •   After Skadden Arps learned of the Class B Shares Transaction, the firm
            resigned as LKM’s counsel. Ex. 1 at 3.

        •   China AI has never paid in full for these shares; $10 million of the $20 million
            remain outstanding according to LKM’s Shareholder Registry. Ex. 1. at 3; Ex.
            2 at 7.

        •   On the same day as the Class B Shares Transaction, July 19, 2018, China AI
            paid LKM $5 million; however, that same day, China AI wired approximately
            $10 million – the amount which China AI is said to have paid for its Class B
            shares – to a bank account in Luxembourg. Ex. 1 at 3.

        •   On July 22, 2019, the very day Shi was personally served with the summons
            and FAC while in China, Shi informed the agent of the Receiver in China that
            he was planning to frustrate the Receiver’s efforts by taking action in this Court.
            Ex. 1 at 4.

        •   In connection with Plaintiff’s motion for alternative service (ECF 104), and
            only two days after Shi submitted a brief opposing Plaintiff’s motion for
            alternative service (ECF 110), China AI appeared for the first time in this action
            and moved to intervene. ECF 111.

        And yet, despite the ties between China AI and Defendant Shi, China AI has sought to

intervene in this matter, attempting to replace Baliga with itself as the plaintiff. In other words, by

China AI’s Motion, Shi or his affiliate is potentially seeking to replace Baliga and purportedly sue

Shi for the misconduct which the FAC alleges he committed against LKM and its shareholders. It

strains credulity to believe that Shi is not behind this, that this is not a fraudulent attempt to hijack


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this litigation, and that China AI, if given the opportunity, would earnestly prosecute this matter

against the very person who in all likelihood controls it.

       Neither China AI nor Shi has ever disclosed this relationship to the Court. Quite the

opposite actually, as both China AI and Shi have represented that there is nothing improper about

China AI’s seeking to intervene. China AI maintains that it is an LKM shareholder who, on behalf

of the Company, can adequately protect the interests of all LKM shareholders. China AI. Br. at 7.

Unsurprisingly, Shi did not object to China AI’s intention to intervene. ECF No. 114. Specifically,

Shi stated, “Plaintiff has not submitted any admissible evidence to dispute China AI’s claims of

share ownership and Mr. Shi is not aware of any … China AI is not a ‘sham entity’ set up by Mr.

Shi and Plaintiff has failed to submit any admissible evidence to show otherwise.” ECF 114.

       The evidence set forth in the Receiver’s Letter gives rise to a number of critical questions

about China AI and Defendant Shi that include but are not limited to (i) who and what is China

AI; (ii) who controls China AI; (iii) what is China AI’s past and present relationship to Defendant

Shi; (iv) what happened to the remaining $10 million that China AI owed to LKM in connection

with the Class B Shares Transaction; (v) why was China AI permitted to not pay in full for its

Class B shares; and (vi) on the same day of the Class B Shares transaction, why did LKM wire

approximately $10 million to a bank account in Luxembourg – and who owns this account.

       These questions go directly to China AI’s interest as an intervenor and whether China AI

has honestly disclosed its true interest in this action. That there exists a compelling basis to ask

these questions requires a denial of China AI’s motion. The risk that China AI and Defendant Shi

are colluding to commit fraud on the Court is simply too great.




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                                            ARGUMENT

         On a motion to intervene under Rule 24(a) of Federal Rules of Civil Procedure (“Rule

24(a)”), the movant bears the burden at all times to prove it is entitled to intervene as a right. Floyd

v. City of New York, 302 F.R.D. 69, 83 (S.D.N.Y), aff’d in part, appeal dismissed in part, 770 F.2d

1051 (2d Cir. 2014). In order to intervene as a matter of right under Rule 24(a), an applicant must

(1) timely file an application, (2) show an interest in the action, (3) demonstrate that the interest

may be impaired by the disposition of the action, and (4) show that the interest is not protected

adequately by the parties to the action. In re Bank of New York Derivative Litig., 320 F.3d 291,

300 (2d Cir. 2003).       Moreover, the “interest” asserted must be “direct,” as opposed to

“contingent.” Greenidge v. Allstate Ins. Co., 82 F. App’x 728, 730 (2d Cir. 2003). Failure to

satisfy any one of these requirements is a sufficient reason to deny the application. R Best

Produce, Inc. v. Shulman-Rabin Mktg. Corp., 467 F.3d 238, 241 (2d Cir. 2006).

    I.      CHINA AI HAS NO RIGHT TO INTERVENE, GIVEN ITS UNDISCLOSED
            RELATIONSHIP WITH DEFENDANT SHI AND THE RISK THAT
            INTERVENTION MAY RESULT IN A FRAUD ON THE COURT

         In order to intervene as a right, a proposed intervenor must have an interest in the action

that is direct, substantial, and legally protectable. Washington Elec. Co-op., Inc. v. Massachusetts

Mun. Wholesale Elec. Co., 922 F.2d 92, 97 (2d Cir. 1990).               A proposed intervenor must

demonstrate “why intervention is required to protect [its] interests, as distinguished from

exercising [its] rights as objectors under Rule 23.1.” In re Bank of Am. Corp. Sec., Derivative, &

Employee Ret. Income Sec. Act (ERISA) Litig., 2012 WL 1674299, at *3 (S.D.N.Y. May 14, 2012).

The interests of party’s alter ego are imputed to the party. See Valley Disposal, Inc. v. Cent.

Vermont Solid Waste Mgmt. Dist., 31 F.3d 89, 102 (2d Cir. 1994); Izzo Golf Inc. v. King Par Golf




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Inc., 2019 WL 4023562, at *5 (W.D.N.Y. Aug. 27, 2019) (on motion to intervene, alter ego of

party and party were determined to have the same interests).

        China AI has failed to meet its burden of demonstrating that it has an interest in this action

that is distinct from that of Defendant Shi. Based on the findings in the Receiver’s Letter, China

AI’s interest in this action is likely identical to Shi’s. Indeed, the Receiver’s findings strongly

suggest that China AI’s intervention is a fraudulent attempt to hijack this litigation for the benefit

of Defendant Shi and to the detriment of LKM and its shareholders. This evidence includes but

is not limited to that:

        •   Li, one of China AI’s principal shareholders at the time of the Class B
            Transaction, was Vice Chairman of LKM from 2010 to 2015. Ex. 1 at 2.

        •   Pursuant to the Class B Shares Transaction, Li and Chi became the owners of
            $20 million of Class B LKM shares, and, in connection with the significant
            voting power conferred to them by their Class B shares, each became members
            of LKM’s Board. Ex. 1 at 2, 3. Li is still a member of LKM’s Board.

        •   Prior to the Class B Shares Transaction, Shi had invested in HH-Medic, a
            Cayman Island company founded by Li, using LKM funds. LKM currently
            owns over 11 percent of HH-Medic’s shares. Ex. 1 at 2.

        •   A portion of the funds paid to LKM in connection with the Class B Shares
            transaction was paid for by HH Medic. Ex 1. at 3.

        •   LKM had no need for the $20 million China AI investment at the time of the
            Class B Shares Transaction. Ex. 1 at 2, 3.

        •   LKM did not tell Skadden Arps about the Class B Shares Transaction, and,
            when Skadden Arps learned about it, the firm objected to it and expressed that
            the transaction lacked any legitimate business purpose. Ex. 1 at 3.

        •   China AI never paid in full for these shares; $10 million of the $20 million
            remain outstanding. Ex. 1 at 2-3.

        •   On the same day as the Class B Shares Transaction, China AI paid LKM $5
            million, but China AI wired approximately $10 million – the amount which
            China AI is said to have paid for its Class B shares – to a bank account in
            Luxembourg. Ex. 1 at 3.


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         •   On July 22, 2019, the very day Shi was served with the summons and FAC, Shi
             informed the Receiver’s agent in China that he was planning to frustrate the
             Receiver’s efforts by taking action in this Court. Ex. 1 at 4.

         •   Only two days after Shi submitted a brief opposing Plaintiff’s motion for
             alternative service (ECF 110), China AI appeared in this action and moved to
             intervene. ECF 111; Ex. 1 at 4.

         •   Shi did not object China AI’s motion to intervene, maintaining purportedly
             that “China AI is not a ‘sham entity.’” ECF 114; Ex. 1 at 4.

         In light of these significant connections between Shi and China AI, it is at minimum highly

probable that China AI is an alter ego or an affiliate of Shi’s. If that is the case, then, by China

AI’s Motion, Shi, with the collusion of China AI, is seeking to replace Baliga with an instrument

of his own control.

         Such a tactic makes China AI an improper intervenor. Indeed, that significant questions

exist concerning, inter alia, who and what is China AI, who controls China AI, the nature and

scope of China AI’s past and present relationship with Shi, and why China AI was allowed to get

away with not paying in full for its Class B shares, all directly relate to China AI’s actual and

potentially fraudulent interest as an intervenor in this action. Indeed, if China AI’s Motion were

to be granted, there is reason to suspect that China AI would attempt to swiftly and voluntarily

dismiss this action or significantly frustrate the Receivership’s efforts to effectively manage the

affairs of LKM.

         Moreover, while the very basis for these questions should automatically invalidate China

AI’s right to intervene, China AI and Shi should be required to demonstrate who China AI really

is. Indeed, the significant indicia of impropriety here warrants a full disclosure of China AI’s past

and present relationship to LKM and Shi.3


3
  If upon China AI’s providing this information to the Court it becomes evident that China AI is an alter ego
or affiliate of Shi’s, such an intentional material omission could subject China AI and Shi – as well as their
attorneys – to sanctions under both Rule 11 of the Federal Rules of Civil Procedure (“Rule 11”) and the

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    II.      CHINA AI HAS OTHERWISE FAILED TO ESTABLISH ITS RIGHT TO
             INTERVENE

          Notwithstanding the potential fraudulent intent at stake here, China AI’s Motion fails for

at least two additional reasons: (i) China AI’s Motion is untimely; and (ii) China AI cannot

establish that Plaintiff will not protect the interest of LKM shareholders. Each of these reasons

provides an independent basis for denying China AI’s Motion.

    A. China AI’s Motion Is Untimely

          If a motion to intervene is untimely, it must be denied. NAACP v. New York, 413 U.S. 345,

365 (1973) (“Whether intervention be claimed of right or as permissive, it is at once apparent,

from the initial words of both Rule 24(a) and Rule 24(b), that the application must be ‘timely.’ If

it is untimely, intervention must be denied.”); Chevron Corp. v. Donziger, 2013 WL 150006, at *2

(S.D.N.Y. Jan. 14, 2013) (noting that “untimeliness of a motion to intervene is alone sufficient to

warrant denial of the request to intervene as of right.”). Rule 24(a) requires courts to measure

timeliness from the moment when the applicant had actual or constructive notice of its

unrepresented interest. Kamdem-Ouaffo v. Pepsico, Inc., 314 F.R.D. 130, 135 (S.D.N.Y. 2016).

The filing of a lawsuit addressing the proposed intervenor’s interests triggers notice.                          See

MasterCard Int’l Inc. v. Visa Int’l Serv. Ass’n, Inc., 471 F.3d 377, 390 (2d Cir. 2006) (finding




Court’s inherent powers to sanction parties. Indeed, misrepresenting the identity of a potential plaintiff-
intervenor when that intervenor is in fact an agent of a defendant would be a scheme calculated to interfere
with the judicial system’s ability to impartially adjudicate this case and would thereby constitute a fraud on
the Court. See Almeciga v. Ctr. for Investigative Reporting, Inc., 185 F. Supp. 3d 401, 427 (S.D.N.Y. 2016)
(“the essence of a fraud upon the Court is when a party lies to the court and his adversary intentionally,
repeatedly, and about issues that are central to the truth-finding process”); see also Galin v. Hamada, 283 F.
Supp. 3d 189, 203 (S.D.N.Y. 2017) (holding that Rule 11 sanctions were warranted against party and party’s
counsel because they knew that claims on a dispositive issue were “utterly lacking in support; quoting “Rule
11 sanctions are appropriate where an attorney or party declines to withdraw a claim upon an express request
by his or her adversary after learning that [the claim] was groundless.”).

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motion to intervene untimely based, in part, on the fact that the related litigation’s “complaint and

other filings ... are publicly available for anyone to access”; citing cases).

        Here, China AI had notice of this lawsuit since the day it was filed in December 2018. See

ECF 1. In fact, it knew of the allegations even prior to the commencement of this action, since the

Directors of China AI sat on the Board of LKM when the Plaintiff sent requisition and demand

letters to the Board in November 2018. See ECF 113. Furthermore, LKM’s entire Board,

including China AI’s Directors, were aware of and informed about this action and the Receivership

Order that this Court issued. See ECF 113. Moreover, after the Court on November 26, 2019

directed the parties to brief this intervention issue before Magistrate Judge Freeman (see ECF 116-

17), China AI delayed another three months before addressing this issue again (ECF 122-24) and

four months before it had a non-defective motion on the docket. ECF 137. In total, China AI

delayed 15 months after the commencement of this action and sixteen months after learning

about this action’s pendency before filing this Motion.

        Accordingly, China AI’s Motion is untimely, as the Second Circuit has routinely denied

motions to intervene when they are made in periods of time far shorter than at issue here. See

MasterCard Int’l Inc., 471 F.3d at 390 (finding a delay of less than one year untimely for

intervention purposes); In re Holocaust Victim Assets Litig., 225 F.3d 191, 198–99 (2d Cir. 2000)

(eight-month delay rendered a motion to intervene untimely); United States v. Pitney Bowes,

Inc., 25 F.3d 66, 71 (2d Cir. 1994) (affirming denial of as-of-right and permissive intervention

where petitioner had constructive knowledge of its interest eight months before it moved to

intervene).4


4
 Same as to district courts in the Southern District of New York. See, e.g. Ferguson v. Ruane Cuniff & Goldfarb Inc.,
2019 WL 1434435, at *4 (S.D.N.Y. Mar. 29, 2019) (nine-month delay untimely); Rudolph v. Hudsons Bay Co., 2019
WL 1416986, at *3 (S.D.N.Y. Mar. 29, 2019) (same); Andrews v. Sony/ATV Music Publ'g, LLC, 2017 WL 770614, at
*9 (S.D.N.Y. Feb. 24, 2017) (motion was untimely when it was filed four months after the filing of operative

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         Additionally, China AI has to date failed to provide any explanation whatsoever for this

delay. It cannot – further demonstrating the untimeliness of its motion. See D’Amato v. Deutsche

Bank, 236 F.3d 78, 84 (2d Cir. 2001) (finding motion to intervene untimely where the proposed

intervenor “offer[ed] no explanation for waiting to file his intervention motion”); Andrews, 2017

WL 770614 at *10 (motion to intervene denied where proposed intervenor “offer[ed] no

compelling justification for its delay”); Kamdem-Ouaffo, 314 F.R.D. at 135 (“Plaintiff provides

no explanation to excuse his delay in filing, thereby underscoring the untimeliness of the

Motion.”).

         Moreover, this action is sufficiently far along to warrant holding China AI’s Motion

untimely. Indeed, Defendants’ motions to dismiss have already been adjudicated. See Rudolph,

2019 WL 1416986 at *2 (motion to intervene was untimely because “[t]here is little doubt that the

proposed intervenors have been aware of the pendency of this action since its inception but have

waited until the filing of a fully-briefed motion to dismiss to speak up.”).5

    B. Plaintiff Adequately Protects LKM Shareholders’ Interests

         Where there is an identity of interest between a party and a movant seeking to intervene,

the movant must rebut the presumption of adequate representation by the party already in the

action. Butler, Fitzgerald & Potter v. Sequa Corp., 250 F.3d 171, 179–80 (2d Cir. 2001). Because


complaint; at time of application to intervene, proposed intervenor had constructive notice for approximately a year);
Chevron Corp., 2013 WL 150006 at *2 (11-month delay untimely); Macatra B.V. v. Destiny Navigation, 2010 WL
339774, at *2 (S.D.N.Y. Jan. 27, 2010) (12-month delay was “unreasonable and [would] unduly prejudice[] plaintiff”).
5
 China AI maintains that its Motion is purportedly timely because service of process has not been effectuated upon
Shi. China AI Br. at 7. This is nonsense. Plaintiff has been vigilantly attempting to serve Shi since the onset of this
action. Shi was served the original summons and complaint in December 2018. ECF 17. And, in July 2019, Defendant
Shi was personally served with the FAC in China. ECF 86. However, effective service of process under the Hague
Convention has been frustrated because Defendant Shi is “deliberately and carefully concealing his whereabouts”
(ECF 104) and has the means to indefinitely delay being served, prompting Plaintiff in July 2019 to request that the
Court rule that service has already been effectuated on Shi or allow for alternative service of process on him. ECF
Nos. 87, 104. Indeed, that discovery has not commenced is a result of Shi’s actively avoiding being served. See
generally ECF 104-05.


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shareholders in a derivative matter share an identity of interest almost by definition, since the true

party in interest is the corporation itself, the movant bears the burden of establishing that the

plaintiff will not adequately represent the interest of the corporation. In re Ambac Fin. Grp., Inc.,

Derivative Litig., 257 F.R.D. 390, 393 (S.D.N.Y. 2009). Accordingly, on a motion to intervene,

the movant must make a “rigorous showing of inadequacy,” established by a showing of

“collusion, adversity of interest, nonfeasance, or incompetence” of the existing named party.

Ferguson, 2019 WL 1434435 at *4.

       China AI has failed to meet its burden of establishing Plaintiff’s purported inadequate

representation of LKM’s interests. Instead, China AI maintains that Plaintiff does not have

standing to sue derivatively on behalf of the Company because Plaintiff, as a holder of ADS, is not

a “shareholder” of LKM. China AI Br. at 1-2, 7-8. Notwithstanding that China AI’s argument

has no bearing on Plaintiff’s purported “collusion, adversity of interest, nonfeasance, or

incompetence,” China AI’s argument fails.

       First, China AI’s argument misses the mark. Although the Complaint is styled as a

derivative action, the FAC asserts numerous direct claims under common law and the federal

securities laws. See, e.g., ¶¶43-55. Plaintiff has standing to bring these claims in New York, and

China AI has failed to demonstrate otherwise. See Steginsky v. Xcelera Inc., 741 F.3d 365, 372

(2d Cir. 2014) (shareholder of Cayman Island company alleged claims under federal securities

laws and common law).

       Second, under New York law, Plaintiff has derivative standing. Indeed, China AI’s

contention that Plaintiff did not convert his ADS to LKM shares gives rise to a procedural issue

governed by New York law, not a substantive one, and thus is no bar to Plaintiff’s standing.

Whereas substantive issues of corporate law are governed by the law of incorporation – here as to



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LKM, the Cayman Islands – procedural rules are governed by the law of the forum – here, New

York. Davis v. Scottish Re Grp. Ltd., 30 N.Y. 3d 247, 252 (2017). Davis is instructive as to the

issue of Plaintiff’s standing here.

       In Davis, defendants argued that the plaintiff there purportedly did not have standing

because the plaintiff failed to comply with order 15, rule 12A of the Cayman Islands Grand Court

Rules (“Rule 12A”), requiring a derivative plaintiff to seek leave of the Cayman Islands Grand

Court before bringing a derivative suit. See id. at 250. Analyzing the issue, the Court of Appeals

disagreed and determined that, because the law requiring a Cayman Island derivative plaintiff to

go through the administrative effort of seeking leave of a Cayman Island court to file a derivative

action was a procedural rule, not a substantive one, New York law and not Cayman Island law

applied to plaintiff’s standing. See id. at 257.    Indeed, the Davis court emphasized that “New

York courts have the authority to employ New York procedures to decide whether a New York

plaintiff has standing to bring a derivative claim against a Cayman Islands company.” Id. at 248.

       This rationale has been subsequently applied since Davis. For example in Mason-Mahon

v. Flint, 166 A.D.3d 754 (N.Y. App. Div. 2018), the court there held that a derivative plaintiff’s

lack of standing pursuant to the laws of the United Kingdom was no bar to plaintiff’s standing in

New York where plaintiff, suing derivatively on behalf of a United Kingdom company, brought

the action in New York. See Mason-Mahon, 166 A.D.3d at 756.

       Such is the case here. The Cayman Island law purportedly requiring the conversion of

ADS to common shares of a company before a plaintiff can bring a derivative suit raises the same

procedural – not substantive – concerns that the courts in Davis and Mason-Mahon determined

were no bar to those plaintiffs’ bringing a derivative action in New York. Accordingly, New York

law, not Cayman Island Law, should apply to the technical issue of Plaintiff’s retaining ADS,



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conferring Plaintiff’s standing. See N.Y. Bus. Corp. Law § 626(a) (“An action may be brought in

the right of a domestic or foreign corporation to procure a judgment in its favor, by a holder of

shares or of voting trust certificates of the corporation or of a beneficial interest in such shares or

certificates.”); Rocha Toussier y Asociados, S.C. v. Rivero, 184 A.D.2d 397 (1992) (that plaintiff

was beneficial owner of shares conferred standing under N.Y. Bus. Corp. Law § 626).

       Third, to the extent that Plaintiff’s standing is governed by Cayman Island law, which

China AI seeks to apply to the issue of standing, Cayman Island caselaw justifies Plaintiff’s

standing here. For example, the Court of Appeal of the Cayman Islands in Schultz v. Reynolds and

Newport Limited, explained that the beneficial owner of shares in a company whose name did not

appear on the register of its members could in certain situations bring a derivative action on behalf

of the company to claim remedies for harm done to the company. See Schultz v. Reynolds and

Newport Ltd, 1992-93 CILR 59. Ex. 3. Indeed, in a later decision, the Court of Appeal of the

Cayman Islands provided a clear rationale for this ruling, stating that:

               It does not seem logical to contend that the right of a person holding an
               equitable interest in shares should depend on the nature of the equitable
               interest and that the equitable interest of a person who has contracted to
               purchase is distinguishable from that of a shareholder who has opted to hold
               shares in the name of a nominee, so that in the one situation the equitable
               owner could file a derivative action and in the other situation he could not.

Svanstrom v. Jonasson, 1997 CILR 192 (dismissed on grounds not applicable here). Ex. 4.

       Likewise, more recent decisions analyzing this issue under Cayman Island law and English

common law principles have held that a rule prohibiting beneficial owners of shares from suing

derivatively would “not be sensible” and works an “injustice,” and that, as a practical matter,

forcing those beneficial owners to transform their shares could “incur expense and delay which

might … diminish[] the value of the derivative action.” Zabusky & Ors v Virgtel Ltd & Ors [2012]

QCA 107. Ex. 5. It could also yield perverse results: “a shareholder with an indisputable and

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undisputed [equitable] title to shares who has not been registered could not sue to protect the

company even if he were the only person who had a reason to bring the action. Such a rule has

little to recommend it.” Id. As such, prohibiting a beneficial owner from bringing a derivative

suit “is capable of causing such mischief … that it should not be accepted here, if it exists

elsewhere.” Id. This rationale bears significant weight here, where ADS were the only LKM

securities available to Plaintiff and the process of LKM share conversion was unduly burdensome

and expensive.6

         Finally, to the extent the Court has any concerns about Plaintiff’s standing, Plaintiff will

seek leave of the Court to file a Second Amended Complaint. By this amended pleading, Plaintiff

would remove any derivative claims and allege direct claims only, as well as provide additional

allegations concerning Defendant Shi’s continued fraud against LKM shareholders, uncovered as

a result of the Receiver’s ongoing investigations. As such, China AI’s argument concerning

Plaintiff’s purported lack of standing is moot.7


                                                 CONCLUSION

         For all the foregoing reasons, China AI’s motion to intervene should be denied in its

entirety.




6
 See Ex. 6 at 45-46 (explaining the burdensome process and expense associated with converting ADSs into shares of
LKM).
7
  See Fed. R. Civ. P. 15(a)(2) “[t]he court should freely give leave” to a party to amend its complaint “when justice
so requires.” Fed. R. Civ. P. 15(a)(2); Williams v. Citigroup Inc., 659 F.3d 208, 213 (2d Cir. 2011) (“If the underlying
facts or circumstances relied upon by a plaintiff may be a proper subject of relief, he ought to be afforded an
opportunity to test his claim on the merits”); Refco Grp. Ltd., LLC v. Cantor Fitzgerald, L.P., 2015 WL 4097927, at
*8 (S.D.N.Y. July 6, 2015) (leave to file second amended complaint in derivative action granted because correcting
“deficiencies in the complaint is a legitimate reason for seeking to amend a pleading under the liberal standard
of Rule 15(a).”)

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Dated: May 4, 2020

New York, New York


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                                CERTIFICATE OF SERVICE

       I hereby certify that on this day I caused a true and correct copy of the foregoing to be

filed using the Court’s Electronic Filing System (“ECF System”). The document is available for

viewing and downloading via the ECF System and will be served by operation of the ECF

System upon all counsels of record.




Dated: May 4, 2020                                           SEIDEN LAW GROUP LLP


                                                             /s/ Jake Nachmani
                                                                 Jake Nachmani




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